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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 24-cr-00006-CNS

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     ANDERSON LEE ALDRICH,

       Defendant.

______________________________________________________________________________

                            ORDER OF DETENTION
______________________________________________________________________________

       THIS MATTER came before me for a detention hearing on January 16, 2024. Defendant

was present in custody and was detained on another matter.

       The Indictment indicates the grand jury has found probable cause to believe that the

offense charged was committed by the defendant. Because he is currently in custody, defendant

did not challenge the government’s request for detention.

       This court finds (a) by a preponderance of the evidence that there is no condition or

combination of conditions which could be imposed in connection with pretrial release that would

reasonably insure the defendant's presence for court proceedings; and (b) by clear and convincing

evidence there is no condition or combination of conditions which could be imposed in connection

with pretrial release that would reasonably insure the safety of any other person or the community.

       Therefore, IT IS ORDERED that the defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a corrections facility separate, to the
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extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal; and

       IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity

to consult confidentially with defense counsel; and

       IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney for

the United States, the person in charge of the corrections facility shall deliver defendant to the

United States Marshal for the purpose of an appearance in connection with this proceeding.



DATED: January 16, 2024                      BY THE COURT:



                                             s/ Scott T. Varholak
                                             Scott T. Varholak
                                             United States Magistrate Judge
